                                                                                    Fill in this information to identify the case:
                                                                                                                                                                                                          Check if this is:
                                                                                    Debtor        Mighty-O Corp.                                                                                              An amended filing

                                                                                    United States Bankruptcy Court for the Western District of Washington                                                 Chapter you are filing under:
                                                                                                                                                                                                              Chapter 7
                                                                                    Case number                                                                                                               Chapter 9
                                                                                    (If known)                                                                                                                Chapter 11
                                                                                                                                                                                                              Chapter 12



                                                                               Official Form 201
                                                                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                       06/22


                                                                               If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
                                                                               number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

                                                                               1.    Debtor's name                  Mighty-O Corp.



                                                                               2.    All other names debtor
                                                                                     used in the last 8 years

                                                                                     Include any assumed names,
                                                                                     trade names and doing
                                                                                     business as names



                                                                               3.    Debtor's federal               XX-XXXXXXX
                                                                                     Employer Identification
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                                                                                     Number (EIN)



                                                                               4.    Debtor's address               Principal place of business                                   Mailing address, if different from principal place
                                                                                                                                                                                  of business

                                                                                                                    10825 E. Marginal Way S.                                      N/A
                                                                                                                    Number Street                                                 Number Street



                                                                                                                    Tukwila WA 98168
                                                                                                                    City, State, ZIP Code                                         City, State, ZIP Code

                                                                                                                                                                                  Location of principal assets, if different from
                                                                                                                                                                                  principal place of business

                                                                                                                    King                                                          N/A
                                                                                                                    County




                                                                               5.    Debtor's website (URL)



                                                                               6.    Type of debtor                        Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                                                                                           Partnership (excluding LLP)

                                                                                                                           Other: Specify N/A




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                                                                               Debtor   Mighty-O Corp.                                                                                                         Case number:



                                                                               7.   Describe debtor's               A.   Check one:
                                                                                    business
                                                                                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                                                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                                                                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                                                                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                                                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                                                                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                                                                                         None of the above

                                                                                                                    B.   Check all that apply:

                                                                                                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                                                                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15
                                                                                                                         U.S.C. § 80a-3)
                                                                                                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                                                                                    C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                                                                                         See http://www.naics.com/search.

                                                                                                                         311800


                                                                               8.   Under which chapter of          Check one:
                                                                                    the Bankruptcy Code is
                                                                                    the debtor filing?                   Chapter 7
                                                                                    A debtor who is a "small             Chapter 9
                                                                                    business debtor" must check          Chapter 11. Check all that apply:
                                                                                    the first sub-box. A debtor             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                                                    as defined in § 1182(1) who             noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                                    elects to proceed under                 than $2,725,625. If this sub-box is selected, attach the most recent balance sheet,
                                                                                    subchapter V of chapter 11              statement of operations, cash-flow statement, and federal income tax return or if any of
                                                                                    (whether or not the debtor is
                                                                                                                            these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
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                                                                                    a "small business debtor")
                                                                                    must check the second                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent
                                                                                    sub-box.                                liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000,
                                                                                                                            and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                                                                                            selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                                                                                            statement, and federal income tax return, or if any of these documents do not exist, follow
                                                                                                                            the procedure in 11 U.S.C. § 1116(1)(B).
                                                                                                                            A plan is being filed with this petition.
                                                                                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                                            in accordance with 11 U.S.C. § 1126(b).
                                                                                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities Exchange
                                                                                                                            Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing for
                                                                                                                            Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                                                                            12b-2.
                                                                                                                         Chapter 12




                                                                               9.   Were prior bankruptcy                No
                                                                                    cases filed by or against
                                                                                    the debtor within the                Yes        District N/A                         When                   Case number
                                                                                    last 8 years?                                                                                  MM/DD/YYYY




                                                                               10. Are any bankruptcy                    No
                                                                                   cases pending or being
                                                                                   filed by a business                   Yes        Debtor N/A                                                  Relationship
                                                                                   partner or an affiliate of
                                                                                   the debtor?                                      District                             When                   Case number
                                                                                                                                                                                   MM/DD/YYYY




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                                                                               Debtor     Mighty-O Corp.                                                                                                                 Case number:




                                                                               11. Why is the case filed in          Check all that apply:
                                                                                   this district?
                                                                                                                          Debtor has had its domicile, principal place of business, or principal assets in this district for
                                                                                                                          180 days immediately preceding the date of this petition or for a longer part of such 180 days
                                                                                                                          than in any other district.
                                                                                                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                                                                                                          district.



                                                                               12. Does the debtor own or                 No
                                                                                   have possession of any                 Yes. Answer below for each property that needs immediate attention.
                                                                                   real property or
                                                                                   personal property that
                                                                                   needs immediate
                                                                                   attention?




                                                                                Part 2:         Statistical and administrative information

                                                                               13. Debtor's estimation of            Check one:
                                                                                   available funds
                                                                                                                          Funds will be available for distribution to unsecured creditors.
                                                                                                                          After any administrative expenses are paid, no funds will be available for distribution to
                                                                                                                          unsecured creditors.



                                                                               14. Estimated number of                    1-49                                  1,000 - 5,000                         25,001 - 50,000
                                                                                   creditors                              50-99                                 5,001 - 10,000                        50,001 - 100,000
                                                                                                                          100-199                               10,001 - 25,000                       More than 100,000
                                                                                                                          200-999
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                                                                               15. Estimated assets                       $0 to $50,000                         $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                                                          $50,001 to $100,000                   $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                                                          $100,001 to $500,000                  $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                          $500,001 to $1 million                $100,000,001 to $500 million          More than $50 billion



                                                                               16. Estimated liabilities                  $0 to $50,000                         $1,000,001 to $10 million             $500,000,001 to $1 billion
                                                                                                                          $50,001 to $100,000                   $10,000,001 to $50 million            $1,000,000,001 to $10 billion
                                                                                                                          $100,001 to $500,000                  $50,000,001, to $100 million          $10,000,000,001 to $50 billion
                                                                                                                          $500,001 to $1 million                $100,000,001 to $500 million          More than $50 billion


                                                                                Part 3:         Request for Relief, Declaration, and Signatures
                                                                               WARNING         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000
                                                                                               or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                               17. Declaration and                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
                                                                                   signature of authorized           this petition.
                                                                                   representative of debtor
                                                                                                                          I have been authorized to file this petition on behalf of the debtor.

                                                                                                                          I have examined the information in this petition and have a reasonable belief that the information
                                                                                                                          is true and correct.

                                                                                                                     I declare under penalty of perjury that the foregoing is true and correct.

                                                                                                                     /s/ Ryan Kellner                                                                     07/14/2024
                                                                                                                     President, authorized representative of Mighty-O Corp.                               MM/DD/YYYY




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                                                                               Debtor   Mighty-O Corp.                                                                                            Case number:




                                                                               18. Signature of Attorney   /s/ James E. Dickmeyer                                                    07/14/2024
                                                                                                           Attorney for Debtor(s)                                                    MM/DD/YYYY

                                                                                                           James E. Dickmeyer
                                                                                                           Printed name
                                                                                                           Law Office of James E. Dickmeyer, PC
                                                                                                           Firm name
                                                                                                           520 Kirkland Way Suite 400
                                                                                                           Number Street
                                                                                                           PO Box 2623

                                                                                                           Kirkland WA 98083-2623
                                                                                                           City, State, ZIP Code

                                                                                                           425-889-2324                                              jim@jdlaw.net
                                                                                                           Contact phone                                             Email address
                                                                                                           WSBA 14318
                                                                                                           Bar number
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